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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )       Criminal No.: 10-225 (CKK)
                                              )
       v.                                     )
                                              )
STEPHEN JIN-WOO KIM,                          )
     also known as Stephen Jin Kim,           )
     also known as Stephen Kim,               )
     also known as Leo Grace,                 )
                                              )
                         Defendant.           )

             GOVERNMENT’S MEMORANDUM IN AID OF SENTENCING

       As a then-senior intelligence advisor and analyst, defendant Stephen Jin-Woo Kim knew

the harm that disclosure of classified information could cause to our national security.

Nevertheless, he disclosed to a reporter TOP SECRET intelligence information concerning the

military capabilities and preparedness of a country with a long history of hostility towards the

United States, North Korea. As the defendant admitted when he pled guilty, he was not acting as

a whistleblower – his unauthorized disclosure to the reporter was not motivated by a desire to

expose any government misconduct. Nor was it an accident or a mistake. Rather, the defendant

acted with knowledge that his disclosure was both unauthorized and unlawful. In so doing, he

betrayed the trust of his country and placed our Nation’s security at risk.

       The defendant has now accepted responsibility for his very serious crime and is prepared

to serve a prison sentence. The United States and the defendant agree that the appropriate

sentence for the defendant’s crime is 13 months of incarceration and a year of supervised release.

The United States respectfully requests that the Court accept the parties’ agreement pursuant to

Federal Rule of Criminal Procedure 11(c)(1)(C), and sentence the defendant accordingly.
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I.     DEFENDANT’S CRIMINAL CONDUCT

       There is no dispute about the facts underlying the defendant’s charge, which are the

subject of a Statement of Offense filed on February 7, 2014. The following facts are summarized

from that pleading.

       A. Professional Background

       To place the defendant’s conduct in context, it is important to appreciate his professional

background. At the time of the offense, the defendant was a sophisticated consumer of

intelligence. In June 2009, the defendant was working as a Senior Advisor for Intelligence to the

Assistant Secretary of State for the State Department’s Bureau of Verification, Compliance, and

Implementation (“VCI”). VCI was responsible for ensuring that appropriate verification

requirements were fully considered and properly integrated into U.S. arms control,

nonproliferation, and disarmament agreements and for monitoring other countries’ compliance

with such agreements. As a result of his official responsibilities, the defendant held a TOP

SECRET security clearance and had regular access to classified and national defense information

relating to the activities of numerous members of the United States Intelligence Community.

       The defendant was also well-trained in the proper handling of classified intelligence and

knew the damage that unauthorized disclosures could cause to our national security. Prior to

June 2009, the defendant entered into various nondisclosure agreements with the United States,

obligating him not to disclose classified information to any unauthorized person and advising

him that any such unauthorized disclosure could constitute a violation of United States criminal

laws, including Title 18, United States Code, Section 793. The defendant entered into such

nondisclosure agreements both prior to and during his work at the Department of State. The

scope of these nondisclosure agreements encompassed the TOP SECRET information that the


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defendant has accepted responsibility for disclosing. As this Court has previously observed,

under the applicable Executive Order, TOP SECRET information is information “‘the

unauthorized disclosure of which reasonably could be expected to cause exceptionally grave

damage to national security.’” United States v. Kim, 808 F. Supp. 2d 44, 53 (D.D.C. 2011)

(quoting Exec. Order No. 12958 § 1.2, as amended by Exec. Order No. 13292, 3 C.F.R. § 196

(2004)). The defendant admitted during the plea hearing that he knew that the information he

disclosed was properly classified TOP SECRET and that its unauthorized disclosure could be

used to the injury of the United States or to the advantage of a foreign nation, i.e., North Korea.

       B. Defendant’s Unauthorized Disclosure of National Defense Information

       The defendant’s unauthorized disclosure of TOP SECRET national defense information

was not an accident or a mistake. By June 2009, he had already struck up a relationship with a

national news reporter for Fox News (“the reporter”). Beginning no later than in or about early

May 2009, the defendant and the reporter began to communicate via telephone, e-mail, and in

person on a number of subjects, including North Korea. Both the defendant and the reporter

(who was then assigned to cover the Department of State) had offices in the headquarters

building of the Department of State.

       On June 11, 2009, the defendant willfully disclosed to the reporter national defense

information derived from a TOP SECRET//SENSITIVE COMPARTMENTED

INFORMATION 1 (“TOP SECRET//SCI”) level intelligence report (referred to hereinafter as the



1
 Sensitive compartmented information (or SCI) is a type of classified information concerning or
derived from sensitive intelligence sources, methods, or analytical processes. SCI must be
handled within formal access control systems established by the Director of National
Intelligence. One must receive explicit permission to access an SCI control system or
compartment. Once it is determined a person should have access to an SCI compartment, that
person signs a nondisclosure agreement specific to that compartment. The defendant signed a
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“Intelligence Report”) concerning the military capabilities and preparedness of North Korea.

The TOP SECRET//SCI information he disclosed was both very timely and unique. It was

disseminated to the Intelligence Community in a singular Intelligence Report at 9:50 a.m., and

just hours after, its contents would be revealed on the Internet by Fox News as a result of the

defendant’s criminal conduct.

       The United States had made substantial efforts to protect the Intelligence Report’s

contents from disclosure. It was disseminated on a classified database, access to which was

restricted to authorized users who possessed a TOP SECRET security clearance, authorized

access to the classified SCI compartment at issue, and authorized access to the classified

database itself. As of June 11, 2009, the defendant was entrusted with such lawful access,

permitting him to access and read the Intelligence Report on the classified database. As the

defendant knew, the reporter did not have lawful access to the contents of the Intelligence

Report. Nor was the defendant ever authorized, directly or indirectly, by the United States to

deliver, communicate, or transmit any national defense information to the reporter or any other

member of the media.

       On June 11, 2009, the defendant and the reporter contacted each other by telephone, both

using their Department of State desk phones. Beginning at approximately 11:27 a.m., the

defendant accessed and read the Intelligence Report on the classified database, using his

Department of State computer in his office. At approximately 11:37 a.m., the defendant called

the reporter’s Department of State desk phone. This call lasted approximately 20 seconds.

Immediately thereafter, the defendant called the reporter’s cell phone. This second call lasted

approximately 1 minute and 8 seconds.

nondisclosure agreement specific to the compartment at issue on February 27, 2009, less than
four months prior to the unauthorized disclosure at issue.
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       Less than a half hour later, the defendant and the reporter met outside of the headquarters

building of the Department of State. Badge records demonstrate that they exited the building at

nearly the same time, were absent from the building for approximately 25 minutes, and then re-

entered the building very close in time.

       In his interactions with the reporter on June 11, 2009, the defendant orally disclosed TOP

SECRET//SCI national defense information from the Intelligence Report, specifically about the

military capabilities and preparedness of North Korea. In so doing, the defendant acted

knowingly and willfully and not by accident or mistake. Further, in disclosing national defense

information to a reporter, the defendant was not acting as any kind of whistleblower. The

defendant did not believe he was exposing any government waste, fraud, abuse, or any other kind

of government malfeasance or misfeasance.

       Within a few hours after the defendant and the reporter re-entered the headquarters

building of the Department of State very close in time at approximately 12:30 p.m., Fox News

published an article on the Internet that included the TOP SECRET//SCI national defense

information from the Intelligence Report that the defendant had disclosed to the reporter, that is,

TOP SECRET//SCI national defense information specifically about the military capabilities and

preparedness of North Korea (the “June 11th article”), thereby disclosing to North Korea at that

moment what our Nation’s Intelligence Community knew or did not know about its military

capabilities and preparedness in question.

       C. Defendant’s Statements to the FBI

       The Federal Bureau of Investigation (FBI) interviewed the defendant on September 24,

2009, and again on March 29, 2010. In his FBI interview on September 24, 2009, the defendant

falsely stated that he had not had any contact with the reporter since meeting him in March 2009.


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In his FBI interview on March 29, 2010, the defendant acknowledged that the information from

the Intelligence Report that appeared in the June 11th article was national defense information

and properly classified at the TOP SECRET//SCI level. The defendant further acknowledged

that the unauthorized disclosure and publication of that information could be used to the injury of

the United States or the advantage of a foreign nation.

II.    UNITED STATES SENTENCING GUIDELINES CALCULATION

       Although the parties have reached agreement, pursuant to Rule 11(c)(1)(C), for a fixed

term of imprisonment, the United States concurs in the United States Sentencing Guidelines

(“USSG”) calculation found in the Presentence Investigation Report (“PSR”). PSR at ¶¶ 28-38.

The parties agree that the guideline for the Section 793(d) offense is found in USSG § 2M3.2

because the defendant pled guilty to the oral disclosure of national defense information (i.e.,

intangible information) with reason to believe it could be used to the injury of the United States

or the advantage of a foreign nation. See USSG § 2M3.3 (Application Note 2); Statement of

Offense at ¶¶ 8, 11-12; see also PSR at ¶ 29. As the information he disclosed was classified at

the TOP SECRET level, the base offense level pursuant to USSG § 2M3.2 is 35.

       The parties disagree as to the application of the two-level adjustment for an Abuse of a

Position of Trust under USSG § 3B1.3, which, if applied, would result in a total offense level of

37. While the United States submits that application of the two-level adjustment is justified here

because the defendant plainly abused his position of trust as an intelligence professional who had

a TOP SECRET security clearance and had signed multiple nondisclosure agreements, 2


2
 Section 3B1.3 of the sentencing guidelines provides that a two-level enhancement is warranted
where the defendant “abused a position of public or private trust . . . in a manner that
significantly facilitated the commission or concealment of the offense.” USSG § 3B1.3. Here,
the defendant’s TOP SECRET security clearance and his execution of multiple nondisclosure
agreements manifested the special trust and professional discretion placed in him by the United
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increasing the defendant’s base offense level by two levels would have no material impact on his

guideline calculation. Even without application of the two-level adjustment, the defendant’s

resulting base offense level (i.e., a level 32 following a three-level adjustment for acceptance of

responsibility) would produce an advisory guidelines range that would exceed the 10-year

statutory maximum sentence imposed by 18 U.S.C. § 793 (i.e., 121-151 months). See USSG §

5G1.1(a) (where the statutory maximum sentence is less than the minimum of the applicable

guidelines range, the statutorily authorized maximum sentence shall be the guideline sentence);

PSR at ¶ 84. Accordingly, regardless of the applicability of USSG § 3B1.3, the defendant’s




States. See Kim, 808 F. Supp. 2d at 57 (“By virtue of his security clearance, Defendant was
entrusted with access to classified national security information and had a duty not to disclose
that information.”). As the Senior Advisor for Intelligence to the Assistant Secretary of State,
the defendant had broad access to some of the Nation’s most closely guarded secrets, including
the Intelligence Report. Further, his position of trust significantly facilitated his ability to
commit the unauthorized disclosure at issue, and gave him freedom to commit the difficult-to-
detect wrong. Indeed, but for his security clearance and access to the classified database, the
defendant would not have been in a position to commit the crime. See United States v. Shyllon,
10 F.3d 1, 5 (D.C. Cir. 1993) (applying the position of trust enhancement to a District of
Columbia tax auditor convicted of extortion because he abused the public trust). Cf. United
States v. Tann, 532 F.3d 868, 875-76 (D.C. Cir. 2008) (clerical or ministerial employees who do
not exercise managerial or professional discretion do not fall within USSG § 3B1.3). Also
unavailing is the defendant’s assertion that the two-level adjustment is inappropriate because it is
already incorporated into the base offense level under USSG § 2M3.2. Section 2M3.2 makes no
mention of an abuse of trust as being included in its base offense level, and that guideline has no
specific offense characteristics. Further, USSG § 2M3.2 encompasses both violations of 18
U.S.C. § 793(d), which criminalizes the disclosure of national defense information by individuals
having lawful access to that information by virtue of their security clearance, and violations of 18
U.S.C. § 793(e), which criminalizes disclosures of national defense information by individuals
having unauthorized access to that information which would include individuals who were not in
a position of trust vis-à-vis the United States, i.e., individuals without a security clearance. See
USSG § 2M3.2 (Commentary; Statutory Provisions); 18 U.S.C. § 793(e). Thus, because USSG
§ 2M3.2 is applicable to violations by individuals who occupy positions of trust, and those who
do not, it necessarily does not incorporate an enhancement for an abuse of a position of trust.
See Shyllon,10 F.3d at 5-6.
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 guideline sentence would be 120 months. See id. 3 Thus, the parties dispute over the

 applicability of USSG § 3B1.3 is irrelevant and need not be resolved by the Court prior to

 sentencing. See Fed. R. Cr. P. 32(i)(3)(B) (court need not resolve “unnecessary” disputes

 concerning the presentence report that will not affect sentencing).

III.    APPLICABLE LAW

        Section 3553, Title 18, provides that, in determining a particular sentence, the Court

 should consider the nature and circumstances of the offense and characteristics of the defendant.

 18 U.S.C. § 3553(a)(1). In addition, it states that the Court must consider other factors, including

 the need for the sentence “to reflect the seriousness of the offense, to promote respect for the

 law, . . . to provide just punishment for the offense; [and] to afford adequate deterrence to

 criminal conduct.” 18 U.S.C. § 3553(a)(2)(A) & (B). Further, the sentence should protect the

 public from further crimes of the defendant and provide the defendant with needed correctional

 treatment. 18 U.S.C. § 3553(a)(2)(C) & (D). Finally, the sentence should “avoid unwarranted

 sentence disparities among defendants with similar records who have been found guilty of

 similar conduct.” 18 U.S.C. § 3553(a)(6).

 IV.    THIS COURT SHOULD ACCEPT THE PARTIES’ AGREEMENT
        AND SENTENCE THE DEFENDANT ACCORDINGLY

        As the Court is aware, the parties have reached an agreement as to the appropriate

 sentence in this case pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C). Specifically,

 the parties have agreed that the defendant should be sentenced to 13 months of imprisonment and

 one year of supervised release. The agreement reflects a fair resolution of the defendant’s



 3
  Nor would the two-level difference to the offense level following the adjustment for acceptance
 of responsibility have any impact on the defendant’s guideline fine range. See USSG §
 5E1.2(c)(3) (fine range of $17,500 - $175,000 applicable to offense levels 32 through 34).
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criminal culpability especially when balanced against the further harm to the national security

that would likely result from a trial.

       As an initial matter, a term of incarceration for the defendant is plainly appropriate.

Having worked as an intelligence professional for nearly seven years, the defendant knew that

his unauthorized disclosure of classified information to the reporter was unlawful. By the time

of his illegal disclosure, the defendant was a Senior Advisor for Intelligence to the Assistant

Secretary of State, had held a security clearance since October 2002, and had signed multiple

nondisclosure agreements acknowledging that the unauthorized disclosure of classified

information could cause irreparable injury to the United States or be used to the advantage of a

foreign nation. Despite these warnings, he chose to disclose to the reporter TOP SECRET//SCI

intelligence concerning the military capabilities and preparedness of North Korea, a country

hostile to the United States. When the defendant was finally confronted by the FBI concerning

his relationship with the reporter, the defendant falsely denied it. In so doing, the defendant

intentionally betrayed the trust that had been bestowed in him by the United States and placed

our Nation’s security at risk.

       Further, the defendant specifically disavowed to this Court under oath at the plea hearing,

that he acted by accident or mistake, and agreed instead that he acted willfully, that is, that he

knew that his conduct was a violation of U.S. criminal laws. Transcript of Feb. 7, 2014, Plea

Hearing at 37-38. Moreover, he affirmed to the Court that he understood that the information he

disclosed was national defense information properly classified at the TOP SECRET//SCI level

and that he had reason to believe that its unauthorized disclosure and publication could be used




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to the injury of the United States or the advantage of foreign nation. 4 Finally, he admitted that

his criminal conduct was not motivated by a desire to expose any government misconduct, i.e.,

he was not acting as a whistleblower. 5

          The parties’ sentencing agreement provides a just resolution to this case. Although the

recommended sentence is below guidelines and provides the defendant with a lesser term of

imprisonment than likely would be imposed after trial and conviction, under the agreement the

defendant will be held accountable for his crime not only by admitting his guilt to the lead

charge in the indictment, but by standing convicted of a serious federal felony that will preclude

him from ever accessing our country’s secrets again. The defendant will also be required to

serve a term of incarceration that will deter others who are entrusted with our Nation’s sensitive

national security information and would consider compromising it. Accordingly, the sentence

will promote respect for the law and afford adequate deterrence to similar criminal conduct in the

future.

          The negotiated sentencing agreement also confers significant benefits on the United

States. First, it avoids the expense, time, and risk associated with a jury trial and appeal, as well

as additional lengthy pre-trial proceedings under the Classified Information Procedures Act. As

this Court is aware, the issues presented by trying a case that has classified information at its core

4
 Similarly, in March 2010, the defendant admitted to the FBI that the national defense
information at issue was properly classified at the TOP SECRET//SCI level and that its
disclosure by the reporter in the June 11th article was “egregious” and “bad.” Thus, by the
defendant’s own account, the national defense information that he disclosed to the reporter was
not “overclassified.”
5
 In contrast to the government’s burden to prove that the defendant acted with the requisite
intent, the United States has no obligation to prove what motivated the defendant when he made
the unauthorized disclosure to the reporter. Moreover, the law recognizes that individuals can
act with mixed motives. Whatever the defendant might say today about why he acted the way
that he did in June 2009, the defendant’s contemporaneous emails and pre-arrest statements to
the FBI point to his ego and desire for professional advancement as his real motives.
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are complex; and their final resolution, whether by this Court or on appeal, is uniquely difficult

to predict. See Kim, 808 F. Supp. 2d at 55 (observing that there has been a “dearth of

prosecutions” under Section 793(d) “most likely” because of the “difficulty in establishing such

a violation, combined with the sensitive nature of classified information and the procedures that

must be followed in using such information in trial”). An adverse determination concerning the

handling of classified information at trial – whether by the trial court or on appeal – can severely

hamper, if not end, a Section 793(d) prosecution, as has occurred in other cases involving

unauthorized disclosures to the media.

       Most importantly, the United States must balance the need for prosecution with the

damage that further disclosure of classified information at trial might cause. 6 Over eight months

ago, the prosecution advised the Court and the defense that proving the government’s case at trial

would require the United States to declassify a substantial amount of TOP SECRET//SCI

information. While the United States would have done so had the defendant not agreed to plead

guilty, the plea agreement affords the United States a substantial benefit in protecting from

disclosure that still-classified information. The undersigned have consulted with the FBI and

members of the Intelligence Community affected by the defendant’s unauthorized disclosure,

and they have concurred in this judgment. Because it appropriately satisfies the need for both




6
 Because this balance is different in each case involving the unauthorized disclosure of national
defense information to the media, the United States submits that making comparisons between
other Section 793(d) cases and this one is of limited value. Indeed, as this Court has observed,
there have been very few such prosecutions in federal courts. Kim, 808 F. Supp. 2d at 55. Each
presented a different tension between the prosecutorial and intelligence interests at stake.
Further, since United States v. Morison, those that have led to conviction have been resolved by
guilty pleas with many of the facts underlying those pleas still classified. Thus, making
comparisons between those cases and this one based on publicly available information is of little
utility.
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punishment and deterrence in light of the nature and seriousness of the offense, the Court should

accept the parties’ sentencing agreement and sentence the defendant accordingly.

V.     CONCLUSION

       For the reasons stated above, the United States respectfully requests that the Court accept

the parties’ sentencing agreement pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C)

and sentence the defendant accordingly.

                                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        On this 24th day of March, 2014, a copy of the foregoing was served on counsel of
record for the defendant via the Court’s Electronic Filing System.



                                                            /s/________________
                                            G. MICHAEL HARVEY
                                            Assistant United States Attorney




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